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Exhibit A
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

GERVIL ST. LOUIS, : No. 3:13CV1132 (RNC)
Plaintif€£,
vs
DOUGLAS PERLITZ, ET AL, : September 23, 2014
Defendants.

ORAL ARGUMENT

BEFORE:

HON. ROBERT N. CHATIGNY, U.S.D.J.

Darlene A. Warner, RMR, CRR
Official Court Reporter

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FOR SOVEREIGN MILITARY HOSPITALLER ORDER OF
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clarification.

MS. BIERSTEIN: Which I think would give us an
inference that he was raising money so he could do his
trips to Haiti. Which, again, I think you can infer he
had an additional motive to go to Haiti beyond the project
in terms of Perlitz being there, and that he was doing
fund raising to -- so he could then have the expense money
to go down there and join him.

THE COURT: Thank you.

MR. GORDON: I don't know if this would -- this
is in the new -- since you've specifically asked about
Father Carrier. In this round where we just -~- our team

just returned from Haiti this past weekend, we're putting
the interrogatories, serving the other side -—- but there
will be clear reports of some of I think two of the
current plaintiffs that Father Carrier directly sexually
abused them.

I'm not sure that applies to this claim, but the
Court's asked and we don't want to leave that out, that we
probably are going to ask for permission to amend with
regard to those two plaintiffs.

We've now learned this, because we weren't
asking if Father Carrier done this, we were asking about
Douglas Perlitz. There was an interrogatory that asked

did anyone else ever sexually abuse you.

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MR. GARABEDIAN: Your Honor, there is alsoa
third claim with another boy, but we have not filed a
complaint on his behalf, in Haiti and he's also come
forward to claim that Father Carrier sexually abused him.

MR. FOLKMAN: May I be heard on that, Your
Honor?

THE COURT: Yes.

MR. FOLKMAN: Your Honor, those are outrageous
allegations as far as we're concerned. Of course, they're
entitled to make whatever allegations they want, but we're
very far along in this. We strongly oppose any additional
amendments to the pleadings. This case has been going on,
if you consider the whole course of the litigation, for a
very, very long time. And it's shocking that we're only
just hearing now that there's even any allegation, because
there's never been until today, that Father Carrier ever
sexually abused anybody. And it's baffling that counsel
might have sued everybody that they've sued without
discovering that fact until now. And we certainly have
not received any interrogatories to that effect. I
understand we're about to.

I think it's very late in the day. It may be
that the deadline that was agreed for amendment has
passed, and if that's the case, I would suggest that the

deadline be enforced.

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CERTIFICATE

In Re: ST. LOUIS vs. PERLITZ

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I, Darlene A. Warner, RDR-CRR, Official Court

Reporter for the United States District Court for the

District of Connecticut, do hereby certify that the

foregoing pages are a true and accurate transcription of

my shorthand notes taken in the aforementioned matter to

the best of my skill and ability.

/s/

DARLENE A. WARNER, RDR-CRR
Official Court Reporter
450 Main Street, Room #223
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